           Case 1:14-cr-00226-DAD-BAM Document 77 Filed 07/21/16 Page 1 of 3


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 KATHLEEN A. SERVATIUS
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00226 DAD-BAM

12                                 Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                          CONFERENCE AND PROPOSED ORDER
13                          v.                            THEREON

14   ESTELO CHAIDEZ-LEON, ET. AL.
                                                          Date: July 25, 2016
15                                 Defendant.             Time: 1:00 p.m.
                                                          Honorable Barbara A. McAuliffe
16

17          The United States of America, by and through PHILLIP A. TALBERT, Acting United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

19 and through their respective attorneys of record, hereby stipulate to continue the status hearing of the

20 above-referenced case from July 25, 2016 until September 26, 2016 at 1:00 p.m.

21          The basis for this continuance is as follows: Counsel are still reviewing discovery and additional
22 time is needed for investigation. In addition, a motion to suppress is still pending before the Honorable

23 Dale A. Drozd and resolution of such motion is necessary before meeting for another status conference.

24          As the requested date represents the earliest date that all counsel are available, taking into
25 account their schedules and commitments to other clients, and the need for preparation in the case and

26 further investigation, the parties request that time be excluded to and through the date of September 26,
27 2016, in that failure to grant the requested continuance would unreasonably deny the defendants

28 continuity of counsel, and unreasonably deny both the defendants and the government the reasonable



30
           Case 1:14-cr-00226-DAD-BAM Document 77 Filed 07/21/16 Page 2 of 3


 1 time necessary for effective preparation, taking into account the parties’ due diligence in prosecuting

 2 this case. 18 U.S.C. Section 3161(h)(7)(B)(iv). Based on the above-stated findings, the ends of justice

 3 served by continuing the case as requested outweigh the interest of the public and the defendant in a trial

 4 within the original date prescribed by the Speedy Trial Act. Therefore, the parties request that the Court

 5 exclude the time until the new trial date from calculations under the Speedy Trial Act.

 6 Dated: July 21, 2016                                    PHILLIP A. TALBERT
                                                           Acting United States Attorney
 7

 8                                                         /s/ Kathleen A. Servatius
                                                           KATHLEEN A. SERVATIUS
 9                                                         Assistant United States Attorney
10

11 Dated: July 21, 2016                                   /s/ JeromePrice and Megan Hopkins
                                                          Attorneys for Defendant Estelo Chaidez-Leon
12

13 Dated: July 21, 2016                                   /s/ Daniel L. Harrelson
                                                          Attorney for Defendant Pedro Olguin-Leon
14

15 Dated: July 21, 2016                                   /s/ Marshall E. Hodgkins
                                                          Attorney for Defendant Leonor Sarabia
16

17 Dated: July 20, 2016                                   /s/ Mark W. Coleman
                                                          Attorneys for Defendant Joseph Phillip Mar
18

19 Dated: July 20, 2016                                   /s/ Peter Michael Jones
                                                          Attorneys for Defendant Victor Perez Virgen
20

21
                                                  ORDER
22

23          IT IS SO ORDERED THAT the 7th Status Conference is continued from July 25, 2016 to
24 Monday, September 26, 2016 at 1:00 PM before Judge McAuliffe

25 .

26          IT IS FURTHER ORDERED THAT the ends of justice served by continuing the case as
27 requested outweigh the interest of the public and the defendant in a trial within the original date

28 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of



30
           Case 1:14-cr-00226-DAD-BAM Document 77 Filed 07/21/16 Page 3 of 3


 1 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

 2 commence, the time period of March 28, 2016 to May 9, 2016, inclusive, is deemed excludable pursuant

 3 to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court

 4 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

 5 action outweigh the best interest of the public and the defendant in a speedy trial.

 6

 7 IT IS SO ORDERED.

 8
        Dated:     July 21, 2016                              /s/ Barbara A. McAuliffe              _
 9                                                     UNITED STATES MAGISTRATE JUDGE
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28



30
